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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



TALAL SALEM, et al.,

         Plaintiffs,
                                                      Case No. 1:19-cv-220
v.
                                                      Hon. Hala Y. Jarbou
MICHIGAN STATE UNIVERSITY, et al.,

      Defendants.
___________________________________/

                                              ORDER

         In accordance with the opinion entered this date:

         IT IS ORDERED that Defendants’ motion to dismiss (ECF No. 92) is GRANTED IN

PART and DENIED IN PART.

         IT IS FURTHER ORDERED that Plaintiffs’ TVPA claims in Counts I – III of the

amended complaint are DISMISSED. In all other respects, Defendants’ motion is denied.



Dated:     April 13, 2021                             /s/ Hala Y. Jarbou
                                                      HALA Y. JARBOU
                                                      UNITED STATES DISTRICT JUDGE
